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             IN THE UNITED STATES DISTRICT COURT FOR
                     THE DISTRICT OF MONTANA
                       GREAT FALLS DIVISION


UNITED STATES OF AMERICA,                  )
                                           )
             Plaintiff,                    )
                                           )
      v.                                   ) Case No. CR 18-14-GF-BMM
                                           )
STANLEY PATRICK WEBER,                     )
                                           )
             Defendant.                    )


               NOTICE OF INTENT TO PROCEED TO TRIAL

      COMES NOW the Defendant, Stanley Patrick Weber, by and through his
undersigned counsel, and provides notice that no plea bargain has been reached in
this case and it remains scheduled for trial.
Dated this 23rd day of July, 2018.

                           Respectfully submitted,

                           /s/ Ryan T. Cox
                           Ryan T. Cox,
                           Admitted Pro Hac Vice
                           Colorado Bar Number 49882;
                           Florida Bar Number 0032686
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                         CERTIFICATE OF SERVICE

      I hereby certify that on the 23rd day of July, 2018, I electronically filed the
foregoing motion with the Clerk of the Court using the CM/ECF system which will
send notification of such filing to all parties entered in the case.

                          /s/ Ryan T. Cox
                          Ryan T. Cox,
                          Admitted Pro Hac Vice
                          Colorado Bar Number 49882;
                          Florida Bar Number 0032686
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